Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 1 of 7 Pageid#: 26359




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

   ELIZABETH SINES, ET AL.,                           │
                                                      │
                   Plaintiffs,                        │
                                                      │
           v.                                         │ Civil Action No. 3:17-cv-00072
                                                      │
   JASON KESSLER, ET AL.,                             │
                                                      │
                   Defendants.                        │
                                                      │

    DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL & MICHAEL TUBBS’S
           RULE 50 MOTION FOR JUDGMENT AS A MATTER OF LAW

           Defendants League of the South, Michael Hill, and Michael Tubbs, by and through

   Counsel, pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, at the conclusion of the

   presentation of all the evidence in this case, move this court for judgment as a matter of law and

   to dismiss the following claims with prejudice:

      I.        Standard of Review

           Rule 50 of the Federal Rules of Civil Procedure states

           “[i]f a party has been fully heard on an issue during a jury trial and the court finds that a
           reasonable jury would not have a legally sufficient evidentiary basis to find for the party
           on that issue, the court may:

           (A) resolve the issue against the party; and

           (B) grant a motion for judgment as a matter of law against the party on a claim or defense
           that, under the controlling law, can be maintained or defeated only with a favorable
           finding on that issue.”

           The court must review all of the evidence in the record, not just the evidence favorable to

   the nonmoving party. Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 149-51 (2000);




                                                     1
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 2 of 7 Pageid#: 26360




   however, "it must disregard all evidence favorable to the moving party that the jury is not

   required to believe." Id. at 151.

           Thus, "the court should give credence to the evidence favoring the nonmovant as well as

   that 'evidence supporting the moving party that is uncontradicted and unimpeached, at least to

   the extent that that evidence comes from disinterested witnesses.'" Id. (quoting 9A C. Wright &

   A. Miller, Federal Practice and Procedure § 2529, at 300 (2d ed. 1995)).

      I.      Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
              Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
              Section 1985(3) claims against Michael Hill

           Defendant Hill asserts that Plaintiffs have failed to provide sufficient evidence that Hill

   was part of a 1985(3) conspiracy with any of his co-defendants to commit racially motivated

   violence on August 11 or 12, 2017. Plaintiffs’ evidence has shown that Hill attended the Unite

   the Right rally in Charlottesville for reasons other than as part of a conspiracy to commit racially

   motivated violence. Plaintiffs’ evidence that Hill had some contact with other defendants leading

   up to the Rally is insufficient to prove a conspiracy. It is not surprising that Hill and other

   defendants communicated in advance of a large, pre-planned political rally. Plaintiffs have failed

   to prove that the content of Hill’s communication with some of his co-defendants constituted an

   agreement to commit racially motivated violence. Asking the jury to draw that inference would

   be speculative and unreasonable. Allowing a jury to reach the speculative conclusion that Hills’

   actions and speech relating to the Rally were part of a 1985(3) conspiracy would have a chilling

   effect on actions and speech that are protected by the First Amendment. See NAACP v.

   Patterson, 357 U.S. 449 (1958).

           Plaintiffs’ evidence has shown that Hill was part of a group of protestors who pushed

   through a human barricade which blocked a public roadway. There is insufficient evidence that




                                                      2
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 3 of 7 Pageid#: 26361




   the act of pushing through the human barricade or any other action by Hill on August 11 or 12,

   2017 was racially motivated or in furtherance of a conspiracy to commit racially motivated

   violence. All Plaintiffs’ 1985(3) claims against Hill should be dismissed.

          Plaintiffs have also failed to provide evidence in support of the claim that Plaintiffs

   Elizabeth Sines, Devon Willis, April Muniz, and Seth Wispelwey’s alleged injuries were caused

   by an overt act in furtherance of a Section 1985(3) conspiracy to commit racially motivated

   violence. Plaintiffs presented no medical evidence to confirm that the above-named Plaintiffs’

   alleged emotional injuries were caused by an overt act in furtherance of a conspiracy to commit

   racially motivated violence on August 11 or 12, 2017. Plaintiffs Sines, Willis, Muniz, and

   Wispelwey’s claims against Hill should be dismissed.

          Plaintiffs have failed to provide sufficient evidence to establish that the Fields car attack

   was an overt act in furtherance of a conspiracy to commit racially motivated violence. The car

   attack occurred two hours after the Unite the Right rally had been declared an unlawful

   assembly. Fields was alone when he perpetrated the car attack and Plaintiffs have failed to show

   any communication, before the car attack, with other codefendants sufficient to establish that the

   car attack was an overt act in furtherance of a conspiracy. Plaintiffs claims based on the Fields

   car attack should be dismissed.

          Plaintiffs have failed to provide sufficient evidence that Fields conspired with any

   defendant to commit racially motivated violence. Fields’ actions on August 12, 2017 are

   insufficient to establish he was part of a 1985(3) conspiracy with Hill. Fields wearing a white

   shirt and khakis and holding a Vanguard shield are insufficient to establish he was part of a

   conspiracy to commit racially motivated violence with any of his co-defendants. No reasonable

   juror could find those actions are sufficient to establish a meeting of the minds with any of his




                                                    3
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 4 of 7 Pageid#: 26362




   co-defendants to commit racially motivated violence. Allowing a jury to reach the speculative

   conclusion that Fields’ mere attendance and participation in a Rally constitute an agreement to

   commit racially motivated violence would have a chilling effect on actions and speech that are

   protected by the First Amendment. All Plaintiffs’ 1985(3) claims against Hill should be

   dismissed.

          Plaintiffs have failed to provide sufficient evidence to establish that the Fields car attack

   was a reasonably foreseeable result of any conspiracy that Hill could have been a part of to

   commit racially motivated violence on August 11 or August 12, 2017. Plaintiffs have presented

   evidence that some individuals posted violent jokes on Discord, but Plaintiffs have failed to

   connect Hill to those violent posts and failed to show that Hill had any knowledge of violent

   posts on Discord. Plaintiffs’ evidence has shown that the streets around Emancipation Park on

   August 12, 2017 were closed to vehicular traffic. Hill could not have reasonably foreseen that

   Fields would drive his car, on streets Hill believed were closed to traffic, into protesters two

   hours after the conclusion of the Rally. Allowing a jury to reach the speculative conclusion that

   the Fields’ car attack was a reasonably foreseeable result of a 1985(3) conspiracy would have a

   chilling effect on actions and speech that are protected by the First Amendment. All Plaintiffs’

   1985(3) claims against Hill should be dismissed.

          Plaintiffs have failed to provide sufficient evidence that Hill was part of any conspiracy

   to commit racially motivated violence at the Torch March. Hill did not attend the Torch March

   and had no role in its planning or execution. He sent two people to observe the March, which is

   insufficient to establish that he conspired to commit racially motivated violence at the Torch

   March. Allowing a jury to reach the speculative conclusion that Hills’ actions and speech

   relating to the Torch March were part of a 1985(3) conspiracy would have a chilling effect on




                                                     4
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 5 of 7 Pageid#: 26363




   actions and speech that are protected by the First Amendment. For that reason, all Plaintiffs’

   claims arising from the Torch March should be dismissed.

      II.       Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
                Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
                Section 1985(3) claims against Michael Tubbs

             Same as above.

      III.      Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
                Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
                Section 1985(3) claims against League of the South

             Same as above.

      IV.       Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
                Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
                Section 1986 claims against Michael Hill

             Plaintiffs have failed to provide sufficient evidence that Hill was part of a Section

   1985(3) conspiracy to commit racially motivated violence for the reasons stated above. For that

   reason, Plaintiffs’ Section 1986 claims should be dismissed. However, even if the evidence is

   sufficient on that issue, Plaintiffs have failed to present any evidence tending to show that Hill

   could have prevented the Torch March or the Fields car attack.

             Hill did not attend the Torch March and had no ability to prevent the hundreds of

   marchers from participating in the March. No evidence was presented that Hill knew in advance

   whether the Torch March was approved by the police or the University of Virginia. As for the

   car attack, Hill did not know Fields and never spoke to Fields. Hill was never in a position to

   prevent Fields from perpetrating the car attack. Plaintiffs Section 1986 claims against Hill should

   be dismissed.

      V.        Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
                Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
                Section 1986 claims against Michael Tubbs




                                                       5
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 6 of 7 Pageid#: 26364




            Same as above, except in addition to the arguments above, Plaintiffs have failed to

   present any evidence that Tubbs even had advance notice of the Torch March. The uncontested

   evidence at trial is that Tubbs only learned of the Torch March after it had already occurred.

   Therefore, for the reasons stated above, and because there is no evidence that Tubbs had

   advanced notice of the Torch March, Tubbs could not have prevented the Torch March.

   Plaintiffs’ Section 1986 claims against Tubbs should be dismissed.

      VI.      Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
               Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
               Section 1986 claims against League of the South

            Same as above.

      VII.     Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
               Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
               Civil Conspiracy claims against Michael Hill

            Same as above.

      VIII. Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
            Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
            Civil Conspiracy claims against Michael Tubbs

            Same as above.

      IX.      Plaintiffs Elizabeth Sines, Thomas Baker, Devon Willis, Chelsea Alvarado, April
               Muniz, Seth Wispelwey, Marissa Blair, Marcus Martin, and Natalie Romero’s
               Civil Conspiracy claims against League of the South

            Same as above.

            Wherefore, for the reasons stated above, Defendants League of the South, Michael Hill,

   and Michael Tubbs move this court for judgment as a matter of law and to dismiss all claims

   against them.

                                                         Respectfully submitted,

                                                         /s/ Bryan J. Jones____




                                                    6
Case 3:17-cv-00072-NKM-JCH Document 1441 Filed 11/16/21 Page 7 of 7 Pageid#: 26365




                                                      Bryan J. Jones (VSB #87675)
                                                      106 W. South St., Ste. 201
                                                      Charlottesville, VA 22902
                                                      (P): (434) 260-7899
                                                      (F): (434) 381-4397
                                                      (E): bryan@bjoneslegal.com

                                                      Counsel for Defendants Michael Hill,
                                                      Michael Tubbs, and League of the South

                                  CERTIFICATE OF SERVICE

           I certify the above was served on November 16, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Elliott Kline a/k/a Eli Mosley: eli.f.mosley@gmail.com & deplorabletruth@gmail.com
   Matthew Heimbach: matthew.w.heimbach@gmail.com
   Christopher Cantwell—in person
   Vanguard America c/o Dillon Hopper: dillon_hopper@protonmail.com
   Robert Azzmador Ray: azzmador@gmail.com
   Richard Spencer: richardbspencer@gmail.com




                                                      /s/ Bryan J. Jones____
                                                      Bryan J. Jones (VSB #87675)
                                                      106 W. South St., Ste. 201
                                                      Charlottesville, VA 22902
                                                      (P): (434) 260-7899
                                                      (F): (434) 381-4397
                                                      (E): bryan@bjoneslegal.com

                                                      Counsel for Defendants Michael Hill,
                                                      Michael Tubbs, and League of the South




                                                  7
